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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PHILIP A. FERRARI
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2744
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )          CR. No. S-08-474 EJG
                                   )
12                  Plaintiff,     )          STIPULATED REQUEST FOR
                                   )          CONTINUANCE OF HEARING ON
13             v.                  )          JUDGMENT AND SENTENCE;
                                   )          and ORDER
14   DINO ROSETTI,                 )
                                   )          Date: August 24, 2012
15                  Defendant.     )          Time: 10:00 a.m.
     ______________________________)          Hon. Edward J. Garcia
16
17
          The United States of America through Philip Ferrari, Assistant
18
     United States Attorney, and defendant Dino Rosetti, by and through
19
     his counsel Mark Reichel, Esq., hereby request that the hearing on
20
     judgment and sentence currently set for June 29, 2012, be vacated
21
     and reset for August 24, 2012, at 10:00 a.m.
22
          The government is seeking this continuance for two reasons.
23
     First, the loss amount noted in Mr. Rosetti’s Advisory Guideline
24
     Presentence Investigation Report differs from that noted in the PSR
25
     prepared for co-defendant Derek Davis.      Compare, Rosetti PSR, ¶ 25,
26
     and Davis PSR, ¶ 35.   Although the government failed to timely raise
27
     the issue with the Probation Officer assigned to Mr. Rosetti’s PSR,
28
     it believes that the Guideline loss amount in both cases should be

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 1   the same.   It is the government’s position that both PSRs should
 2   accurately reflect the loss, and that counsel for Mr. Rosetti should
 3   have the opportunity to respond to the actual loss figure.             The
 4   second reason for the requested continuance is that while the victim
 5   financial institutions have been contacted in this case, it appears
 6   they may not have been provided sufficient information to enable the
 7   submission of a restitution claim.
 8         The loss and restitution figures relevant to Mr. Rosetti will
 9   be similar (and in some cases identical) to the figures relevant to
10   co-defendants Davis and Badie.      Mr. Davis and Mr. Badie are both
11   currently set to be sentenced on August 24, 2012.         The government
12   requests that Mr. Rosetti’s hearing on judgment and sentence be set
13   for the same day.    Mr. Rosetti joins in this request.
14
15   DATED: June 25, 2012                /s/ Philip Ferrari for
                                        MARK REICHEL, ESQ.
16                                      Attny. for Dino Rosetti
17
     DATED: June 25, 2012               BENJAMIN B. WAGNER
18                                      United States Attorney
19
                                  By:    /s/ Philip A. Ferrari
20                                      PHILIP A. FERRARI
                                        Assistant U.S. Attorney
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 1        Based upon the foregoing, IT IS HEREBY ORDERED that:
 2        1.   The hearing on judgment and sentence in the above-
 3   referenced matter, previously set for June 29, 2012, is hereby
 4   vacated and continued to August 24, 2012, at 10:00 A.M.; and
 5        2.   The Court adopts the following sentencing schedule:
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 7
     Judgment and Sentencing Date:                     08/24/2012
 8
     Reply, or Statement of Non-Opposition:            08/17/2012
 9
     Motion For Correction of PSR:                     08/10/2012
10
     PSR Shall be Filed:                               08/03/2012
11
     Informal Objections Re: Loss Due:                 07/27/2012
12
13
14
     Date: _June 25, 2012___________________
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16
                                           /s/ Edward J. Garcia
17                                         EDWARD J. GARCIA
                                           DISTRICT COURT JUDGE
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